Case 1:23-cv-11195-SHS-OTW   Document 314   Filed 11/18/24   Page 1 of 4
Case 1:23-cv-11195-SHS-OTW   Document 314   Filed 11/18/24   Page 2 of 4
Case 1:23-cv-11195-SHS-OTW   Document 314   Filed 11/18/24   Page 3 of 4
  Case 1:23-cv-11195-SHS-OTW            Document 314   Filed 11/18/24    Page 4 of 4




                                               Ian B. Crosby
                                               Susman Godfrey L.L.P.

                                               /s/ Steven Lieberman
                                               Steven Lieberman
                                               Rothwell, Figg, Ernst & Manbeck

                                               /s/ Matt Topic
                                               Matt Topic
                                               Loevy & Loevy

cc:   All Counsel of Record (via ECF)
